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                   12                               UNITED STATES DISTRICT COURT
                   13                             NORTHERN DISTRICT OF CALIFORNIA
                   14                                       SAN JOSE DIVISION
                   15

                   16   In re Google RTB Consumer Privacy                Master File No. 5:21-cv-02155-LHK
                        Litigation,
                   17                                                    DECLARATION OF ROBBY L.R. SALDAÑA
                                                                         IN SUPPORT OF REQUEST FOR JUDICIAL
                   18   This Document Relates to: all actions,           NOTICE IN SUPPORT OF MOTION TO
                                                                         DISMISS PLAINTIFFS’ CONSOLIDATED
                   19                                                    CLASS ACTION COMPLAINT

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 SAN FRANCISCO
                                                                                      DECLARATION OF ROBBY SALDAÑA
                                                                                         CASE NO. 5:21-CV-02155-LHK
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                    1            I, Robby L.R. Saldaña, hereby declare:

                    2            1.      I am an attorney with the law firm of Cooley LLP, and attorney of record for

                    3   Defendant Google LLC (“Google”). I am admitted to practice before this Court pro hac vice. I

                    4   submit this declaration in connection with the Request for Judicial Notice in support of Google’s

                    5   Motion to Dismiss Plaintiffs’ Consolidated Class Action Complaint (“CAC”). Except as noted

                    6   otherwise, I have personal knowledge of the facts herein and I am competent to testify.

                    7            2.      Paragraph 140 of the CAC refers to the “Real-Time Bidding Protocol Buffer v.199.”

                    8   (See ECF No. 92, ¶ 140.) On September 24, 2021, Google produced a copy of this document to

                    9   the Plaintiffs in this case. I also understand this to have been the version of Google’s Real-Time

                   10   Bidding Protocol Buffer that was available on the Internet when Plaintiffs filed their original

                   11   complaint on March 26, 2021. (CAC at ¶ 37, n. 19.) A true and correct copy of the document, as

                   12   produced to Plaintiffs, is attached as Exhibit A to this declaration.

                   13            3.      Exhibit 4 to the CAC is a copy of Google’s Terms of Service (“ToS”) effective

                   14   March 31, 2020. (ECF No. 92-1 Ex. 4.) Page 7 of the ToS contains the following phrase: “to

                   15   customize our services for you, such as providing recommendations and personalized search

                   16   results, content, and ads (which you can change or turn off in Ads Settings)[.]” (Id. at 7.) The

                   17   underlined        phrase     contains      a     hyperlink       with      the    following     URL:

                   18   https://adssettings.google.com/?utm_source=ps-terms&hl=en_US (last accessed September 30,

                   19   2021).

                   20                 a. Upon copying and pasting this URL into a web browser, I was taken to the webpage

                   21                    titled “Ad Personalization.” A true and correct copy of the webpage that I viewed

                   22                    is attached as Exhibit B to this declaration.

                   23                 b. Upon copying and pasting the above URL into a web browser (without being logged

                   24                    into a Google Account), I was taken to a webpage titled “Ad Personalization

                   25                    settings” with three tabs respectively titled “Search,” “YouTube,” and “Web.” A

                   26                    true and correct copy of each tab that I viewed on this webpage is respectively

                   27                    attached as Exhibits C, D, and E to this declaration.

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                                                                                                 DECLARATION OF ROBBY SALDAÑA
 SAN FRANCISCO                                                             2                        CASE NO. 5:21-CV-02155-LHK
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                    1          4.      Exhibit 5 to the CAC is a copy of the webpage titled “How Our Business Works.”

                    2   (CAC Ex. 5.) On Page 2, the webpage states that “[y]ou can use Ad Settings to control the

                    3   information about you that’s used to show ads. And if you don’t want to see personalized ads at

                    4   all, you can turn them off at any time.” (Id. at 2.) The underlined phrases contain a hyperlink to

                    5   the following URL: https://adssettings.google.com/authenticated (last accessed September 30,

                    6   2021). Upon copying and pasting this URL into a web browser while being logged into a Google

                    7   Account, I was taken a webpage titled “Ad personalization.” A true and correct copy of the

                    8   webpage that I viewed is attached as Exhibit B to this declaration.

                    9          I declare under penalty of perjury under the laws of the United States of America that the

                   10   foregoing is true and correct. Execute this 1 day of October 2021 at Washington, D.C.

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                   12                                                          /s/ Robby L.R. Saldaña
                                                                               Robby L.R. Saldaña
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                                                                                              DECLARATION OF ROBBY SALDAÑA
 SAN FRANCISCO                                                          3                        CASE NO. 5:21-CV-02155-LHK
